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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
      v.                             : Case No. 22-CR-184 (DLF)
                                     :
BARRY BENNET RAMEY,                  :
                                     :
                  Defendant.         :
____________________________________:

                    DEFENDANT’S MOTION TO WAIVE JURY TRIAL

        COMES NOW the Defendant, Barry Ramey, by and through counsel, and respectfully

moves this Court for leave to waive his right to a jury trial in favor of a bench trial, pursuant to

Fed. R. Crim. P. 23.

                                         BACKGROUND

        Defendant, Mr. Barry Ramey, is charged with the following offenses, Inflicting Bodily

Injury on Certain Officers (18 U.S.C. § 111(a)(1) and (b)); Civil Disorder (18 U.S.C. §

231(a)(3)); Entering and Remaining in a Restricted Building or Grounds, Disorderly and

Disruptive Conduct in a Restricted Building or Grounds, and Engaging in Physical Violence

in a Restricted Building or Grounds (18 U.S.C. § 1752(a)(1) and (a)(2) and (a)(4), and (b) (1)

(A)); Disorderly Conduct on Capitol Grounds, Impeding Passage Through the Capitol

Grounds or Buildings, and an Act of Physical Violence in the Capitol Grounds or Buildings

(40 U.S.C. § 5104(e)(2)(F), (E), and (F)). (ECF No. 1.). A jury trial on these charges is

scheduled to begin before this Court on February 21, 2023. After considering his rights, Mr.

Ramey wishes to waive his right to a jury trial and proceed with a bench trial on February 21,

2023.




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       WHEREFORE, Mr. Ramey respectfully requests the Court to grant his motion and

proceed in this matter with a bench trial under Fed. R. Crim. P. 23.

       Respectfully submitted,

                                             /s/ Farheena Siddiqui
                                             Farheena Siddiqui
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                                             Counsel for Defendant


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of Defendant’s Motion to Waive Jury Trial was served upon

counsel of record through ECF on the date of filing.


                                             s/ Farheena Siddiqui
                                             Farheena Siddiqui




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